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                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF NEW JERSEY

     In re:                                                       Chapter 11

     LTL MANAGEMENT LLC,1                                         Case No. 21-30589 (MBK)

                     Debtor.
                                                                  Ref. Docket Nos. 1284 & 1292-1295

                                         AFFIDAVIT OF SERVICE

 STATE OF NEW YORK  )
                    ) ss.:
 COUNTY OF NEW YORK )

 DAVID RODRIGUEZ, being duly sworn, deposes and says:

 1. I am employed as a Senior Case Manager by Epiq Corporate Restructuring, LLC, located at
    777 Third Avenue, New York, New York 10017. I am over the age of eighteen years and am
    not a party to the above-captioned action.

 2. On January 28, 2022, I caused to be served the:

        a. “Order Authorizing Retention of Blake, Cassels & Graydon LLP ,” dated January 28,
           2022 [Docket No. 1284], (the “BCG Retention Order”),

        b. “Fee Statement Cover Sheet for the Period December 16, 2021 Through December 31,
           2021,” dated January 28, 2022 [Docket No. 1292], (the “2 nd Weil Fee Statement”),

        c. “Order Amending Order Authorizing Interim Retention of Weil, Gotshal & Manges LLP
           as the Debtor’s Special Counsel,” dated January 28, 2022 [Docket No. 1293], (the “Weil
           Retention Order”),

        d. “Order Amending Order Authorizing Interim Retention of Jones Day,” dated January 28,
           2022 [Docket No. 1294], (the “Jones Retention Order”), and

        e. “Notice of Filing of Ordinary Course Professionals Quarterly Report for the Period
           October 14, 2021 Through December 31, 2021,” dated January 28, 2022 [Docket No.
           1295], (the “OCP Report”),




 1
  The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
 501 George Street, New Brunswick, New Jersey 08933.
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 by causing true and correct copies to be:

        i. BCG Retention Order, 2nd Weil Fee Statement, Weil Retention Order, Jones Retention
           Order and OCP Report to be enclosed securely in separate postage pre-paid envelopes
           and delivered via first class mail to those parties listed on the annexed Exhibit A,

        ii. BCG Retention Order, 2nd Weil Fee Statement, Weil Retention Order, Jones Retention
            Order and OCP Report to be delivered via electronic mail to those parties listed on the
            annexed Exhibit B,

       iii. 2nd Weil Fee Statement to be delivered via electronic mail to those parties listed on the
            annexed Exhibit C, and

       iv. BCG Retention Order, 2nd Weil Fee Statement, Weil Retention Order, Jones Retention
           Order and OCP Report to be delivered via electronic mail to: bserrant@stblaw.com.

 3. All envelopes utilized in the service of the foregoing contained the following legend:
    LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO THE ATTENTION OF
    ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                    /s/ David Rodriguez
                                                                    David Rodriguez
  Sworn to before me this
  31st day of January, 2022
  /s/ Cassandra Murray
  Notary Public, State of New York
  No. 01MU6220179
  Qualified in Queens County
  Commission Expires April 12, 2022
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                                EXHIBIT A
                                                LTL Management LLC
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Claim Name                               Address Information
ARNOLD & ITKIN LLP                       ATTN KURT B ARNOLD, CAJ BOATRIGHT, ROLAND CHRISTENSEN & JASON ITKIN 6009
                                         MEMORIAL DRIVE HOUSTON TX 77007
ASHCRAFT & GEREL, LLP                    ATTN MICHELLE PARFITT, JAMES F. GREEN & PATRICK LYONS 1825 K STREET, NW, STE
                                         70 WASHINGTON DC 20006
AYLSTOCK WITKIN KREIS &                  OVERHOLTZ PLLC; ATN MARY PUTNICK & DANIEL THORNBURGH 17 E MAIN ST, STE 200; PO
                                         BOX 12630 PENSACOLA FL 32502
BAILEY & GLASSER LLP                     (COUNSEL TO OFFICIAL COMITTEE OF TALC CLAIMANTS) ATTN: CARY JOSHI 1055 THOMAS
                                         JEFFERSON ST NW, STE 540 WASHINGTON DC 20007
BALLARD SPAHR LLP                        (COUNSEL ALBERTSONS COMPANIES, INC) ATTN: TOBEY M. DALUZ, LESLIE C. HEILMAN,
                                         LAUREL D. ROGLEN 919 N. MARKET STREET, 11TH FLOOR WILMINGTON DE 19801
BARNES FIRM                              ATTN JOE VAZQUEZ 420 LEXINGTON AVE, STE 2140 NEW YORK NY 10170
BEASLEY ALLEN LAW FIRM                   ATTN: CHARLIE STERN & LEIGH O'DELL 218 COMMERCE ST PO BOX 4160 MONTGOMERY AL
                                         36104
BLANCO TACKABERY & MATAMOROS, P.A.       (COUNSEL TO IMERYS TALC AMERICA, INC) ATTN: ASHLEY S. RUSHER 404 NORTH
                                         MARSHALL ST WINSTON-SALEM NC 27101
BROWN RUDNICK LLP                        (COUNSEL TO OFFICIAL COMMITTEE OF TALC CLAIMANTS) ATTN: DAVID J. MOLTON &
                                         ROBERT J. STARK SEVEN TIMES SQUARE NEW YORK NY 10036
BROWN RUDNICK LLP                        (CO-COUNSEL TO THE COMMITTEE OF TALC CLAIMANTS) ATTN SUNNI P. BEVILLE ONE
                                         FINANCIAL CENTER BOSTON MA 02111
BURNS CHAREST LLP                        (COUNSEL TO PLAINTIFFS STEERING COMMITTEE) ATTN: DANIEL H CHAREST 900 JACKSON
                                         STREET, SUITE 500 DALLAS TX 75202
CELLINO LAW LLP                          ATTN BRIAN GOLDSTEIN 800 DELAWARE AVE BUFFALO NY 14209
CLYDE & CO US LLP                        (COUNSEL TO THE CONTINENTAL INSURANCE COMPANY) ATTN: KONRAD R. KREBS 200
                                         CAMPUS DR, STE 300 FLORHAM PARK NJ 07932
CLYDE AND CO US LLP                      (COUNSEL TO THE CONTINENTAL INSURANCE COMPANY) ATTN: CLINTON E. CAMERON,
                                         MEGHAN DALTON 55 WEST MONROE ST, STE 3000 CHICAGO IL 60603
COHEN, PLACITELLA & ROTH, P.C.           ATTN DENNIS M. GEIER & CHRISTOPHER M. PLACITELLA 127 MAPLE AVE RED BANK NJ
                                         07701
COHEN, PLACITELLA & ROTH, P.C.           ATTN JARED M. PLACITELLA 2001 MARKET ST, SUITE 2900 PHILADELPHIA PA 19103
COLE SCHOTZ P.C.                         (COUNSEL TO CLAIMANTS REPRESENTED BY BARNES LAW) ATTN: FELICE R. YUDKIN 25
                                         MAIN ST, P.O. BOX 800 HACKENSACK NJ 07602-0800
COLE SCHOTZ P.C.                         (COUNSEL TO CLAIMANTS REPRESENTED BY BARNES LAW) ATTN: MARK TSUKERMAN 1325
                                         AVENUE OF THE AMERICAS 19TH FLOOR NEW YORK NY 10019-6079
COOLEY LLP                               (COUNSEL TO OFFICIAL COMMITTEE OF TALC CLAIMANTS) ATTN: EVAN M. LAZEROWITZ 55
                                         HUDSON YARDS NEW YORK NY 10001
CORDES LAW, PLLC                         (COUNSEL TO BCBS OF MASSACHUSETTS, INC.) ATTN STACY C. CORDES & MEGHAN A. VAN
                                         VYNCKT 1800 EAST BOULEVARD CHARLOTTE NC 28203
CROWELL & MORING LLP                     (COUNSEL TO CENTURY INSURERS) ATTN GREGORY GENNADY PLOTKO 590 MADISON AVENUE,
                                         19TH FLOOR NEW YORK NY 10022-2524
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                                         EMBARCADERO CENTER, 26TH FLOOR SAN FRANCISCO CA 94111
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DAVID CHRISTIAN ATTORNEYS LLC            (COUNSEL TO THE CONTINENTAL INSURANCE COMPANY) ATTN: DAVID CHRISTIAN 105 W.
                                         MADISON ST., STE 1400 CHICAGO IL 60602
DEAN OMAR BRANHAM SHIRLEY, LLC           ATTN JESSICA DEAN, J BRADLEY SMITH, CHARLES W BRANHAM III 302 N MARKET ST, STE
                                         300 DALLAS TX 75202
DLA PIPER LLP (US)                       (COUNSEL TO CENTURY INSURERS) ATN AIDAN MCCORMACK & BRIAN SEIBERT 1251 AVENUE
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DRISCOLL FIRM, LLC                       ATTN JOHN DRISCOLL 211 NORTH BROADWAY, 40TH FL ST LOUIS MO 63102
DUANE MORRIS LLP                         (COUNSEL TO REPUBLIC INDEMNITY) ATTN: SOMMER L. ROSS 1940 ROUTE 70 EAST, STE


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Claim Name                               Address Information
DUANE MORRIS LLP                         100 CHERRY HILL NJ 08003-2171
DUANE MORRIS LLP                         (COUNSEL TO REPUBLIC INDEMNITY) ATTN: PHILIP R. MATTHEWS SPEAR TOWER ONE
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                                         07102
EMMET, MARVIN & MARTIN LLP               (COUNSEL TO PTI UNION LLC & PTI ROYSTON LLC) ATTN: THOMAS A PITTA 120
                                         BROADWAY, 32ND FLOOR NEW YORK NY 10271
FEARS NACHAWATI LAW FIRM                 ATTN DARREN MCDOWEL & MAJED MACHAWATI 5473 BLAIR RD DALLAS TX 75231
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                                         SHARON AMITY ROAD, #518 CHARLOTTE NC 28211
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GENOVA BURNS LLC                         (COUNSEL TO OFFIC. COMMIT. OF TALC CLAIMANTS) ATTN: DANIEL M. STOLZ, ESQ,
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                                         BASKING RIDGE NJ 07920
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                                         RABINOWITZ PO BOX 1449 MORRISTOWN NJ 07962-1449
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GREENBAUM, ROWE, SMITH & DAVIS LLP       (COUNSEL TO MOTLEY RICE LLC) ATTN: NANCY ISAACSON, ESQ 75 LIVINGSTON AVENUE
                                         STE 301 ROSELAND NJ 07068
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                                         NJ 07932
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                                         40 WALL STREET, 37TH FLOOR NEW YORK NY 10005
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                                         AVE NEW YORK NY 10016
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                                         19102
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                                         ERIN E. DIERS ONE BATTERY PARK PLAZA NEW YORK NY 10004
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                                         CHAPEL HILL NC 27517
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                                         CHARLOTTE NC 28233
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                                         CHARLOTTE NC 28202


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KING & SPALDING LLP                      (COUNSEL TO BESTWALL LLC) ATTN: RICHARD A. SCHNEIDER 1180 PEACHTREE STREET,
                                         N.E. ATLANTA GA 30309
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                                         BRANZBURG 10000 LINCOLN DRIVE E, STE 201 MARLTON NJ 08053
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KTBS LAW LLP                             (COUNSEL TO AYLSTOCK, WITKIN, KREIS & OVERHOLTZ, PLLC) ATTN MICHAEL L TUCHIN,
                                         ESQ, ROBERT J PFISTER, ESQ, SAMUEL M KIDDER, ESQ & NIR MAOZ, ESQ 1801 CENTURY
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                                         THE AMERICAS NEW YORK NY 10020-1401
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                                         POSIN, AMY C. QUARTAROLO 355 SOUTH GRAND AVENUE, SUITE 100 LOS ANGELES CA
                                         90071-1560
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                                         BLDG 5, STE 110 LAWRENCEVILLE NJ 08648
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LLC                                      MAIN STREET, STE 7 CLINTON NJ 08809
LAW OFFICES OF R. KEITH JOHNSON, P.A.    (COUNSEL TO LINDA RABASCA AND BRANDI CARL) ATTN: R. KEITH JOHNSON 1275 S. NC
                                         BUS. HWY. 16 STANLEY NC 28164
LEVIN PAPANTONIO RAFFERTY                ATTN: CHRISTOPHER TISI 316 S BAYLEN STREET, SUITE 600 PENSACOLA FL 325002
LEVY KONIGSBERG LLP                      ATTN MOSHE MAIMON 101 GROVERS MILL RD, STE 105 LAWRENCE TWP NJ 08648
LEVY KONIGSBERG LLP                      (COUNSEL TO RANDY DEROUEN) ATTN JEROME BLOCK & AUDREY RAPHAEL 605 THIRD AVE.,
                                         33RD FLOOR NEW YORK NY 10158
LOWENSTEIN SANDLER LLP                   (COUNSEL TO JOHNSON & JOHNSON) ATTN: KENNETH A. ROSEN, MARY E. SEYMOUR ONE
                                         LOWENSTEIN DR ROSELAND NJ 07068
MANIER & HEROD, P.C.                     (COUNSEL TO WESTCHESTER FIRE INSURANCE COMPANY) ATTN: ROBERT W. MILLER 1201
                                         DEMONBREUN ST. SUITE 900 NASHVILLE TN 37203
MARSHACK HAYS LLP                        (COUNSEL TO VARIOUS TALC CLAIMANTS) ATTN: LAILA MASUD, ESQ. 870 ROOSEVELT
                                         IRVINE CA 92620
MAUNE RAICHLE HARTLEY FRENCH &           MUDD, LLC ATTN T BARTON FRENCE 1015 LOCUST ST, STE 1200 ST. LOUIS MO 63101
MCCARTER & ENGLISH LLP                   ATTN: BRETT D. KAHN, THOMAS W. LADD FOUR GATEWAY CENTER 100 MULBERRY STREET
                                         NEWARK NJ 07102
MCMANIMON, SCOTLAND & BAUMANN, LLC       (COUNSEL TO ALISHIA LANDRUM) ATTN: ANTHONY SODONO, SARI PLACONA 75 LIVINGSTON
                                         AVE, 2ND FL ROSELAND NJ 07068
MENDES & MOUNT LLP                       (COUNSEL TO ATLANTA INTERNATIONAL INSURANCE ETC) ATTN: EILEEN T. MCCABE,
                                         STEPHEN T. ROBERTS 750 SEVENTH AVENUE NEW YORK NY 10019
MILLER FIRM, LLC                         ATTN CURTIS G HOKE 108 RAILROAD AVE ORANGE VA 22960
MOON WRIGHT & HOUSTON, PLLC              (COUNSEL TO ARNOLD & ITKIN PLAINTIFFS) ATTN RICHARD S WRIGHT, ANDREW T HOUSTON
                                         & CALEB BROWN 121 W. TRADE STREET, SUITE 1950 CHARLOTTE NC 28202
MOORE & VAN ALLEN PLLC                   (COUNSEL TO J & J AND J & J CONSUMER INC.) ATTN HILLARY B CRABTREE 100 N TRYON
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MOTLEY RICE LLC                          (COUNSEL TO PLAINTIFFS) ATTN: DANIEL R. LAPINSKI 210 LAKE DRIVE EAST, STE 101
                                         CHERRY HILL NJ 08002
MOTLEY RICE LLC                          ATTN JOHN D HURST 50 CLAY ST, STE 1 MORGANTOWN WV 26501
MOTLEY RICE LLC                          ATTN CARMEN S. SCOTT 28 BRIDGESIDE BLVD MOUNT PLEASANT SC 29464
NAPOLI SHKOLNIK PLLC                     ATTN JAMES D HEISMAN & CHRISTOPHER R LOPALO 919 NORTH MARKET ST, STE 1801
                                         WILMINGTON DE 19801
NORTHERN BLUE, LLP                       (COUNSEL TO CYPRUS MINES CORPORATION) ATTN: JOHN A. NORTHEN 1414 RALEIGH ROAD,
                                         SUITE 435 CHAPEL HILL NC 27517
NORTHERN BLUE, LLP                       (COUNSEL TO CYRPUS MINES CORPORATION) ATTN: JOHN PAUL COURNOYER & VICKI L.
                                         PARROTT 1414 RALEIGH ROAD, SUITE 435 CHAPEL HILL NC 27517


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Claim Name                              Address Information
NORTHERN BLUE, LLP                      (COUNSEL TO CYPRUS AMAX MINERALS COMPANY) ATTN: JOHN A. NORTHEN, JOHN PAUL H.
                                        COURNOYER & VICKI L. PARROTT 1414 RALEIGH ROAD, SUITE 435 CHAPEL HILL NC 27517
OFFICE OF THE ATTORNEY GENERAL OF TEXAS (COUNSEL FOR THE STATE OF TEXAS) ASSISTANT ATTORNEYS GENERAL ATTN: RACHEL R
                                        OBALDO & AUTUMN D HIGHSMITH PO BOX 12548- MC 008 AUSTIN TX 78711-2548
OFFICE OF THE US TRUSTEE                ATTN LAUREN BIELSKIE, JEFFREY M. SPONDER & MITCHELL B. HAUSMAN ONE NEWARK
                                        CENTER, STE 2100 NEWARK NJ 07102
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                                        ISELIN NJ 08830
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                                        ESQ. 301 SOUTH COLLEGE ST, STE 2600 CHARLOTTE NC 28202
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OTTERBOURG P.C.                         (COUNSEL TO PLANTIFF'S STEERING COMMITTEE) ATTN: JOHN BOUGIAMAS, MELANIE L
                                        CYGANOWSKI & ADAM C SILVERSTEIN 230 PARK AVENUE NEW YORK NY 10169
PACHULSKI STANG ZIEHL & JONES LLP       (COUNSEL TO ARNOLD & ITKIN LLP) ATTN: LAURA JONES, KAREN DINE, COLIN ROBINSON,
                                        PETER KEANE 919 N. MARKET ST, 17TH FL WILMINGTON DE 19801
PARKER POE ADAMS & BERNSTEIN LLP        (COUNSEL FOR THE CONTINENTAL INSURANCE COMPANY) ATTN ASHLEY A EDWARDS, ESQ 620
                                        SOUTH TRYON ST, STE 800 CHARLOTTE NC 28202
PARKINS LEE & RUBIO LLP                 (COUNSEL TO ONDERLAW, LLC) ATTN: CHARLES M. RUBIO, LENARD M. PARKINS PENNZOIL
                                        PLACE 700 MILAM STREET SUITE 1300 HOUSTON TX 77002
PENSION BENEFIT GUARANTY CORPORATION    OFFICE OF THE GENERAL COUNSEL ATTN SIMON J TORRES 1200 K STREET, NW WASHINGTON
                                        DC 20005
PENSION BENEFIT GUARANTY CORPORATION    OFFICE OF THE GENERAL COUNSEL ATTN CAROLYN J LACHMAN 1200 K STREET, NW, STE
                                        340 WASHINGTON DC 20005-4026
PORZIO, BROMBERG & NEWMAN, P.C.         (COUNSEL TO RIO TINTO AMERICA HOLDINGS INC.,) ATTN: RACHEL A. PARISI, ESQ. 100
                                        SOUTHGATE PARKWAY MORRISTOWN NJ 07962
PRYOR CASHMAN LLP                       (COUNSEL WILLIAM HART PLAINTIFFS) ATTN: SETH H. LIEBERMAN & ANDREW S. RICHMOND
                                        7 TIMES SQUARE NEW YORK NY 10036-6569
RAWLINGS & ASSOCIATES                   (COUNSEL TO BLUE CROSS BLUE SHIELD) ATTN: MARK D FISCHER, ROBERT C GRIFFITH 1
                                        EDEN PARKWAY LA GRANGE KY 40031
REED SMITH LLP                          (COUNSEL TO CYPRUS MINES CORPORATION) ATTN: DEREK J. BAKER, ESQ. 506 CARNEGIE
                                        CENTER STE 300 PRINCETON NJ 08543
REED SMITH LLP                          (COUNSEL TO CYRUS MINES CORPORATION) ATTN JASON D ANGELO, ESQ 1201 MORTH
                                        MARKET STREET, SUITE 1500 WILMINGTON DE 19801
REED SMITH LLP                          (COUNSEL TO CYPRUS MINES CORPORATION) ATTN PAUL M SINGER, ESQ REED SMITH
                                        CENTRE 225 FIFTH AVENUE PITTSBURGH PA 15222
ROBINSON, CALCAGNIE, ROBINSON,          SHAPIRO, DAVIS, INC. ATTN MARK P. ROBINSON, JR. 19 CORPORATE PLAZA DRIVE
                                        NEWPORT BEACH CA 92660
ROSS FELLER CASEY, LLP                  ATTN: BRIAN J. MCCORMICK, JR. ONE LIBERTY PLACE 1650 MARKET ST, 34TH FL
                                        PHILADELPHIA PA 19103
RUGGERI PARKS WEINBERG LLP              (COUNSEL TO HARTFORD ACCIDENT AND INDEMNITY...) ATTN: JOSHUA D. WEINBERG,
                                        JOSHUA P. MAYER 1875 K STREET NW, STE 600 WASHINGTON DC 20006-1251
SAIBER LLC                              (COUNSEL TO KRISTIE LYNN DOYLE) ATTN: JOHN M AUGUST & MARC E WOLIN 18 COLUMBIA
                                        TURNPIKE, STE 200 FLORHAM PARK NJ 07932
SAVO, SCHALK, GILLESPIE, O'GRODNICK     & FISHER, P.A. (COUNSEL TO JEANNE STEPHENSON) ATTN: CHARLES S. SCHALK, JOHN F.
                                        BRACAGLIA JR. 56 EAST MAIN ST, STE 301 SOMERVILLE NJ 08876
SHERMAN SILVERSTEIN KOHL ROSE &         (COUNSEL TO OFFICIAL COMMITTEE OF TALC CLAIMANTS) ATTN: ARTHUR J ABRAMOWITZ,
PODOLSKY, P.A.                          ALAN I MOLDOFF ROSS J SWITKES 308 HARPER DRIVE, STE 200 MOORESTOWN NJ 08057
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